         Case 1:18-cv-01551-ESH Document 20-9 Filed 08/03/18 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                       )
                                                       )
 LUCAS CALIXTO, et al.,                                )
                                                       )
                           PLAINTIFFS,                 )   Case No. 1:18-cv-01551-ESH
                                                       )
 v.                                                    )
                                                       )
 UNITED STATES DEPARTMENT OF THE                       )
 ARMY and MARK ESPER, et al.,                          )
                                                       )
                           DEFENDANTS.                 )
                                                       )
                                                       )
                                                       )
                                                       )

            [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
      A PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION

        THIS MATTER having come before the Court on a motion for a preliminary injunction

by Plaintiffs Lucas Calixto, Tounde Djohi, Wanjing Li, Zeyuan Li, Fang Lu, Jingquan Qu,

Hembashima Sambe, and Emeka Udeigwe (“Plaintiffs”); the Court having reviewed the arguments

on the motion; and good cause appearing,

        IT IS HEREBY ORDERED that the Plaintiffs’ motion is GRANTED; it is further

        ORDERED that, having reviewed the arguments in Plaintiffs’ Motion for Class

Certification and Appointment of Class Counsel, dated August 3, 2018, the Class, as defined

below, is provisionally certified for purposes of preliminary injunctive relief, Plaintiffs are

appointed as representatives of the Class, and Plaintiffs’ counsel are appointed as Class counsel.

        The Class is defined as all individuals:

        1.     who have enlisted in the U.S. Army (including the Army Reserve) through the

               Military Accessions Vital to the National Interest (“MAVNI”) program;



                                                   1
        Case 1:18-cv-01551-ESH Document 20-9 Filed 08/03/18 Page 2 of 4



       2.     who are the subject of a final discharge or separation decision since September 30,

              2016 (whether or not the soldier received a formal discharge order and regardless

              of whether the “effective date” of the discharge or separation has passed);

       3.     whose discharge or separation has not been characterized by the Army (including

              “uncharacterized” and “entry level” discharges or separations); and

       4.     whose final discharge or separation decision was made without the soldier first

              being afforded the process due under applicable Army and Department of Defense

              (“DoD”) regulations and the law, including adequate notice of the discharge

              grounds, an opportunity to respond, due consideration of the soldier’s response by

              the Army, or other requirements of law; and, it is further

       ORDERED that, pending a final judgment on the merits or further order of the Court,

Defendants are preliminarily enjoined as follows:

       1.     The Army shall issue orders revoking the final discharge decisions for Plaintiffs

              and the Class;

       2.     Defendants shall take all actions necessary to fully reinstate Plaintiffs and the Class;

       3.     To the extent that Defendants notified other military departments, DOD, or other

              federal agencies or components, including DHS, of the final discharge decisions,

              Defendants shall promptly notify such entities that the discharges are revoked and

              void for all purposes;

       4.     Defendants shall not renew or commence new discharge actions against Plaintiffs

              or the Class except in accordance with applicable law and regulations governing

              such discharges;




                                                 2
       Case 1:18-cv-01551-ESH Document 20-9 Filed 08/03/18 Page 3 of 4



      5.    Within two weeks of this order, Defendants shall provide the Court and Plaintiffs

            with a complete list of all Class members and a copy of each soldier’s discharge

            revocation order;

      6.    Within four weeks of this order, Defendants shall provide the Class with a notice,

            in a form approved by the Court, informing each soldier of this litigation, the

            preliminary injunction, and the revocation/reinstatement, and offering each soldier

            the ability to waive his/her right to revocation/reinstatement;

      7.    Beginning four weeks after this order (and to occur every four weeks thereafter for

            the duration of the litigation), Defendants shall file a report with the Court

            identifying any non-characterized MAVNI soldier discharges or separations and

            providing (i) a copy of the discharge order, (ii) a description of the process provided

            to the MAVNI soldier prior to the final discharge, and (iii) contact information for

            the MAVNI soldier that will enable class counsel, a monitor, or other appropriate

            persons to confirm the process provided.




Dated: __________                                  ____________________________
                                                   U.S.D.J. Ellen Segal Huvelle




                                              3
        Case 1:18-cv-01551-ESH Document 20-9 Filed 08/03/18 Page 4 of 4



  NAMES OF PERSONS TO BE SERVED WITH PROPOSED ORDER UPON ENTRY

       In accordance with LCvR 7(k), listed below are the names and addresses of the attorneys

and parties entitled to be notified of the proposed order’s entry:


 Counsel for Defendants                               Counsel for Plaintiffs

 Jeremy A. Haugh                                      Douglas W. Baruch
 Special Assistant U.S. Attorney                      Jennifer M. Wollenberg
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